

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-16,548-02






DONALD LEBLEU, Relator


v.


DALLAS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. F85-98067-MK IN THE CRIMINAL DISTRICT

COURT NO. 4 FROM DALLAS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed an application for a writ of habeas
corpus in the Criminal District Court No. 4 of Dallas County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court.  


	 In these circumstances, additional facts are needed. The respondent, the District Clerk
of  Dallas County, is ordered to file a response, which may be made by: submitting the record
on such habeas corpus application; submitting a copy of a timely filed order which designates
issues to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992);
or stating that Relator has not filed an application for habeas corpus in Dallas County. Should
the response include an order designating issues, proof of the date the district attorney's
office was served with the habeas application shall also be submitted with the response. This
application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response. Such response shall be submitted within
30 days of the date of this order.



Filed: October 12, 2011

Do not publish	


Keasler, J., not participating


